       Case 1-18-01055-ess           Doc 3     Filed 05/10/18    Entered 05/10/18 15:38:30




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------x            Chapter 7
In Re:                                                          Case No. 1-18-42486 (ESS)

MICHAEL HEILBRON.

                Debtor,

_______________________________X
BENJAMIN PLAZA, JR.,
                                                                Chapter 7 Creditor
                                 Plaintiff.
v.
                                                                Adv. Proc. No. 18-01055-ess
MICHAEL HEILBRON,
                     Defendant.
________________________________X                               ANSWER

Defendant Michael Heilbron by his attorney George Bassias Attorney LLC, as for

his answer states the following:

     1. Denies paragraphs 8 and 9 of plaintiff’s complaint in that defendant’s

        actions were not willful and malicious; and defendant did not mean and

        intend for plaintiff to sustain the injuries that he sustained.

     2. Denies 12 in that while he knowingly became engaged in a fight he did not

        knowingly intend to injure plaintiff in the manner that he was injured.

                                       FIRST AFFIRMATIVE DEFENSE
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3. That plaintiff’s injuries were caused in whole or part by his own actions in

   intimidating, harassing, threatening, defendant and mutually engaging in a

   fight of passion over a common female love interest.

                           SECOND AFFIRMATIVE DEFENSE

4. That defendant’s actions were knowingly engaging in a mutual fight with

   plaintiff, in the heat of passion, however, he never intended, willfully and

   maliciously to injure plaintiff.

                          THIRD AFFIRMATIVE DEFENSE

5. That defendant’s conduct and plaintiff’s mutual conduct was reckless and

   substantially certain to cause injury to each other.

Wherefore Defendant prays for a judgment dismissing the complaint and

whatever else the court deems proper.

Dated: Queens, NY
       May 10, 2018                           ______________________
                                              By: George Bassias
                                              George Bassias Attorney LLC
                                              21-83 Steinway Street
                                              Astoria, NY 11105
                                              718-721-4441
